           Case 8:23-ap-01046-SC Doc 95 Filed 07/23/23                                            Entered 07/23/23 21:14:28                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Marshack,
      Plaintiff                                                                                                        Adv. Proc. No. 23-01046-SC
Diab,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 21, 2023                                               Form ID: pdf031                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 23, 2023:
Recip ID                 Recipient Name and Address
intp                   + Law Offices of Ronald Richards, Ronald Richards, Esq, PO Box 11480, Beverly Hills, CA 90213-4480

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
dft                            Authorize Net
dft                            B.A.T. Inc.
dft                            BAT Inc. dba Coast Processing
dft                            BankUnited, N.A.
dft                            Consumer Legal Group, PC
intp                           Courtesy NEF
dft                            Daniel S. March
cr                             Debt Validation Fund II, LLC
dft                            Dongliang Jiang
dft                            Dwolla, Inc.
dft                            EPPS
dft                            Eng Taing
dft                            Eng Tang
dft                            Equipay
dft                            Fidelity National Information Services, Inc.
dft                            Fidelity National Information Services, Inc. dba F
dft                            Gallant Law Group
dft                            Greyson Law Center PC
dft                            Guardian
dft                            Guardian Processing, LLC
dft                            Han Trinh
dft                            Heng Taing
dft                            Jake Akers
dft                            Jayde Trinh
dft                            Jimmy Chhor
dft                            LGS Holdco, LLC
dft                            Lisa Cohen
cr                             MC DVI Fund 1, LLC
cr                             MC DVI Fund 2, LLC
dft                            Maria Eeya Tan
dft                            Marich Bein, LLC
dft                            Maverick Management Group, LLC
dft                            Maverick Management, LLC
dft                            Max Chou
         Case 8:23-ap-01046-SC Doc 95 Filed 07/23/23                                        Entered 07/23/23 21:14:28                     Desc
                             Imaged Certificate of Notice                                   Page 2 of 4
District/off: 0973-8                                               User: admin                                                            Page 2 of 3
Date Rcvd: Jul 21, 2023                                            Form ID: pdf031                                                       Total Noticed: 1
dft                              Merit Fund, LLC
dft                              Oakstone Law Group PC
dft                              Optimumbank Holdings, Inc.
dft                              Optimumbank Holdings, Inc. dba Optimum Bank
dft                              Payliance, LLC
dft                              Phoenix Law Group, Inc.
dft                              Phoenix Law, PC
dft                              Prime Logix, LLC
dft                              Revolv3, Inc.
pla                              Richard A. Marshack
dft                              Rosa Bianca Loli
dft                              Scott James Eadie
dft                              Seamless Chex Inc.
dft                              Stripe, Inc.
dft                              Teracel Blockchain Fund II LLC
dft                              The United States Postal Service
dft                              Tony Diab
dft                              Touzi Capital, LLC
dft                              Vulcan Consulting Group LLC
dft                              Wes Thomas
dft                              William Taylor Carss
dft                              World Global
dft                              Worldpay Group
dft                              Worldpay, Inc.
dft                              Worldpay, LLC

TOTAL: 59 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 23, 2023                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 21, 2023 at the address(es) listed below:
Name                             Email Address
Andrew Still
                                 on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Christopher Celentino
                                 on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                 on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Ghio
                                 on behalf of Plaintiff Richard A. Marshack christopher.ghio@dinsmore.com Kristina.Heller@Dinsmore.com

Daniel A Lev
                                 on behalf of Interested Party Courtesy NEF daniel.lev@gmlaw.com cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

David S Kupetz
                                 on behalf of Defendant Marich Bein LLC David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
         Case 8:23-ap-01046-SC Doc 95 Filed 07/23/23                                      Entered 07/23/23 21:14:28                 Desc
                             Imaged Certificate of Notice                                 Page 3 of 4
District/off: 0973-8                                          User: admin                                                          Page 3 of 3
Date Rcvd: Jul 21, 2023                                       Form ID: pdf031                                                     Total Noticed: 1
Douglas A Plazak
                             on behalf of Defendant Jayde Trinh dplazak@rhlaw.com

Douglas A Plazak
                             on behalf of Defendant Scott James Eadie dplazak@rhlaw.com

Douglas A Plazak
                             on behalf of Defendant Greyson Law Center PC dplazak@rhlaw.com

Douglas A Plazak
                             on behalf of Defendant Han Trinh dplazak@rhlaw.com

Eric Bensamochan
                             on behalf of Interested Party Courtesy NEF eric@eblawfirm.us G63723@notify.cincompass.com

Howard Steinberg
                             on behalf of Defendant BankUnited N.A. steinbergh@gtlaw.com,
                             pearsallt@gtlaw.com;howard-steinberg-6096@ecf.pacerpro.com

Johnny White
                             on behalf of Interested Party Courtesy NEF JWhite@wrslawyers.com jlee@wrslawyers.com

Jonathan Serrano
                             on behalf of Plaintiff Richard A. Marshack jonathan.serrano@dinsmore.com

Kenneth Misken
                             on behalf of U.S. Trustee United States Trustee (SA) Kenneth.M.Misken@usdoj.gov

Leslie A Cohen
                             on behalf of Interested Party Courtesy NEF leslie@lesliecohenlaw.com jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

Meredith King
                             on behalf of Interested Party Courtesy NEF mking@fsl.law ssanchez@fsl.law;jwilson@fsl.law

Queenie K Ng
                             on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Richard A Marshack (TR)
                             pkraus@marshackhays.com rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 1 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor Debt Validation Fund II LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 2 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Ronald N Richards
                             on behalf of Defendant Consumer Legal Group PC ron@ronaldrichards.com, 7206828420@filings.docketbird.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 24
      Case 8:23-ap-01046-SC Doc 95 Filed 07/23/23                                                     Entered 07/23/23 21:14:28                 Desc
                          Imaged Certificate of Notice                                                Page 4 of 4

 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Rusty Jonathan O'Kane TX Bar SBN 24088149                                                                 FILED & ENTERED
 WICK PHILLIPS LLP
 3131 McKinney Ave. Suite 500
 Dallas, Texas 75204
 214-692-6200 - Phone
                                                                                                                   JUL 21 2023
 214-692-6255 - Fax
 rusty.okane@wickphillips.com                                                                                CLERK U.S. BANKRUPTCY COURT
                                                                                                             Central District of California
                                                                                                             BY bolte      DEPUTY CLERK
      Attorney for: Eng Taing; Touzi Capital, LLC

                                            UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

 In re:                                                                        CASE NO.: 8:23-bk-10571-SC

 THE LITIGATION PRACTICE GROUP, PC,                                            CHAPTER: 11
                                                                               ADVERSARY NO.: 8:23-ap-01046-SC

                                                                Debtor(s)

 RICHARD A. MARSHACK, Chapter 11 Trustee,                                             ORDER ON APPLICATION OF
                                                                                 NON-RESIDENT ATTORNEY TO APPEAR IN
                                                                Plaintiff(s)
                                                                                    A SPECIFIC CASE [LBR 2090-1(b)]
                                      vs.

 TONY DIAB, an individual; DANIEL S. MARCH, an
 individual; ROSA BIANCA LOLI, an individual; LISA
 COHEN, an individual; et al.,
                                                                                         [No hearing required per LBR 2090-1(b)(6)]

                                                            Defendant(s)

The court, having reviewed the Application of the non-resident attorney to appear in a specific case under LBR 2090-1(b),
and good cause appearing, orders as follows:

    The Application is granted and the following person may appear as requested in the above-entitled case (specify
    name of applicant): Rusty Jonathan O'Kane
    Permission to appear pro hac vice is effective upon payment of the requisite fee to the United States District Court for
    the Central District of California.
                                                           ###



                   Date: July 21, 2023




            This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2016                                                                                                     F 2090-1.2.ORDER.NONRES.ATTY
